Case 23-16427 Doc 44 Filed 04/30/24 Entered 04/30/24 14:51:51 Desc Main
Document Page1of6

el MiaMin ce inceletreielem om eile mes tiow

MW Check if this is an amended

Debtor 1 Robert Divilbiss plan, and list below the

First Name Middle Name Last Name sections of the plan that
Sabor D have been changed.
(Spouse, iffilingy First Name Middle Name —_ Last Name 24
United States Bankruptcy Court for the: Northern District of Illinois
Case number 23-16427
(if known)

Official Form 113

Chapter 13 Plan 1247

fn

To Debtors: This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not

indicate that the option is appropriate in your circumstances or that It is permissible in your judicial district. Plans that do
not comply with local rules and judicial rulings may not be confirmabie.

In the following notice to creditors, you must check each box that applies.

To Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
an attorney, you may wish to consult one.

lf you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
Court. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See Bankruptcy
Rule 3015. in addition, you may need to file a timely proof of claim in order to be paid under any plan.

The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the

plan includes each of the following items. If an item is checked as “Not Included” or If both boxes are checked, the
provision will be ineffective if set out later in the plan.

1.1 | Alimit on the amount of a secured claim, set out in Section 3.2, which may result in a partial C) included WA Not Included
payment or no payment at all to the secured creditor

1.2 | Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set out | ((] Included wi Not Included
in Section 3.4

1.3 | Nonstandard provisions, set out in Part 8 (] Included | (ff Not Included

Fra Pian Payments and Length of Pian

2.1 Debtor(s) will make regular payments to the trustee as follows:

$2,316.00 per month for 60 months.

lf fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the payments
to creditors specified in this plan.

Case 23-16427 Doc 44 Filed 04/30/24 Entered 04/30/24 14:51:51 Desc Main

Check ail that apply.

Document

(_] Debtor(s) will make payments pursuant to a payroll deduction order.

Wi Debtor(s) will make payments directly to the trustee.
(_} Other (specify method of payment):

2.3 Income tax refunds.
Check one.

§j Debtor(s) will retain any income tax refunds received during the plan term.

Page 2 of 6
2.2 Regular payments to the trustee will be made from future income in the following manner:

(_] Debtor(s) will supply the trustee with a copy of each income tax return filed during the pian term within 14 days of filing the return and will

turn over to the trustee all income tax refunds received during the plan term.
(} Debtor(s) will treat income tax refunds as follows:

2.4 Additional payments.
Check one.

Mj None. if ‘None’ is checked, the rest of § 2.4 need not be completed or reproduced.

2.5 The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.4 Is $138,600.00

[Eg Treatment of Secured Claims

3.1 Maintenance of payments and cure of default, If any.

Check one.

() None. # “None” is checked, the rest of § 3.1 need not be completed or reproduced.

WM The debtor(s) will maintain the current contractual installment payments on the secured claims listed below, with any changes required
by the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed either by the trustee or
directly by the debtor(s), as specified below. Any existing arrearage on a listed claim will be paid in full through disbursements by the
trustee, with interest, if any, at the rate stated. Unless otherwise ordered by the court, the amounts listed on a proof of claim filed before
the filing deadline under Bankruptcy Rule 3002(c) control over any contrary amounts listed below as to the current installment payment
and arrearage. In the absence of a contrary timely filed proof of claim, the amounts stated below are controlling. If relief from the
automatic stay is ordered as to any item of collateral listed in this paragraph, then, unless otherwise ordered by the court, all payments
under this paragraph as to that collateral will cease, and all secured claims based on that collateral will no longer be treated by the
plan. The final column includes only payments disbursed by the trustee rather than by the debtor(s).

Name of Creditor / Collateral Current Amountof _Interestrate Monthly Estimated
Installment on plan total
Payment (if any) arrearage paymenton payments
(including (if arrearage by trustee
escrow) applicable)

Exeter Finance LLC $125.60 0.00% $0.00 avg. _ $9,224.55

Collateral Disbursed by:

2012 Volkswagen Passat ij Trustee
OQ Debtor(s)

Santander Consumer USA, Inc $361.61 0.00% $0.00 avg. _$21,696.27

Coilateral Disbursed by:

2017 Mitsubishi Outlander Trustee

(.} Debtor(s)
Case 23-16427 Doc 44 Filed 04/30/24 Entered 04/30/24 14:51:51 Desc Main
Document Page 3 of 6

Name of Creditor / Collateral Current Amount of _interestrate Monthly Estimated
Installment arrearage on plan total
Payment (if any) arrearage paymenton payments
(including (if arrearage by trustee
escrow) applicable)

Will County CCAO $415.97 0.08% $0.00 avg. _ $24,935.98

Collateral Disbursed by:

2600 John Bourg, Plainfield, IL 60586 wi Trustee

2600 John Bourg Plainfield, IL 60586 O Debtor(s)

New Rez LLC dba Shellpoint Mortgage Servicing $217.99 0.08% $0.00 avg. _ $21,206.14

Coliateral Disbursed by:

2600 John Bourg, Plainfield, IL 60586 Mi Trustee

2600 John Bourg Plainfield, IL 60586 [Lj Debtor(s)

insert additional claims as needed.

3.2 Request for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one.
MA None. /f “None” is checked, the rest of § 3.2 need not be completed or reproduced.

3.3 Secured claims excluded from 11 U.S.C. § 506.
Check one.

wi None. if “None” is checked, the rest of § 3.3 need not be completed or reproduced.
3.4 Lien Avoidance

Check one.

Mi None. if “None” is checked, the rest of § 3.4 need not be completed or reproduced.

3.5 Surrender of collateral.
Check one.

Wi None. /f “None” is checked, the rest of § 3.5 need not be completed or reproduced.

FER Treatment of Fees and Priority Claims

4.1 General
Trustee’s fees and ail allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
without postpetition interest.

4.2 Trustee’s fees

Trustee’s fees are governed by statute and may change during the course of the case but are estimated tobe 6.30% of plan payments; and
during the plan term, they are estimated tototal $8,305.83 __

4.3 Attorney’s fees
The balance of the fees owed to the attorney for the debtor(s) is estimated to be $4,500.00 .

44 Priority claims other than attorney’s fees and those treated In § 4.5.
Check one.

wi None. /f “None” is checked, the rest of § 4.4 need not be completed or reproduced.

4.5 Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.
Case 23-16427 Doc 44 Filed 04/30/24 Entered 04/30/24 14:51:51 Desc Main
Document Page 4 of 6

Check one.
Mi None. /f “None” is checked, the rest of § 4.5 need not be completed or reproduced.

Ca Treatment of Nonpriority Unsecured Claims

5.1 Nonpriority unsecured claims not separately classified.

Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option
providing the largest payment will be effective. Check alf that apply.

(} The sum of
wi 100.00% __ of the total amount of these claims, an estimated payment of _ $41,969.82.
WM The funds remaining after disbursements have been made to ail other creditors provided for in this plan.
if the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $41,969.82
. Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.
5.2 Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.
Mi None. if “None” is checked, the rest of § 5.2 need not be completed or reproduced.

5.3 Other separately classified nonpriority unsecured claims. Check one.
Mi None. if “None” is checked, the rest of § 5.3 need not be completed or reproduced.

a Executory Contracts and Unexpired Leases

6.1 The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory contracts
and unexpired leases are rejected. Check one.

MA None. /f “None” is checked, the rest of § 6.1 need not be completed or reproduced.
Eee vesting of Property of the Estate

7.1 Property of the estate will vest in the debtor{s) upon
Check the applicable box:

(} plan confirmation.
wi entry of discharge.

() other:

8.1 Check “None” or List Nonstandard Plan Provisions
MA None. if “None” is checked, the rest of Part 8 need not be completed or reproduced.
Case 23-16427 Doc44 Filed 04/30/24 Entered 04/30/24 14:51:51 Desc Main

Document Page 5of6
Fad Sionature(s)

9.1 Signatures of Debtor(s) and Debtor(s)’ Attorney

ff the Debtor(s) do not have an attorney, the Debior(s) must sign below; otherwise the Debtor(s) signatures are optional. The attorney for the
Debtor(s), if any, mu: below.

x.

Robert Divilbiss Signature of Debtor 2
Signature of Ta l
Executed on a3 ¢g ¥ Executed on
MM! DD//YYYY MM/ DD/ YYYY
x ay L4 Ads Date. 4 lL? ap
Signatute of Attorney for oa MM 1 DD YYYY

By filing this document, the Debtor(s}, if not represented by an attorney, or the Attorney for Debtor(s) also certify(ies) that the wording and

order of the provisions in this Chapter 13 plan are identical to those contained in Official Form 113, other than any nonstandard provisions
included in Part 8.
Case 23-16427 Doc 44 Filed 04/30/24 Entered 04/30/24 14:51:51 Desc Main

Document Page 6 of 6

Exhibit: Total Amount of Estimated Trustee Payments

The following are the estimated payments that the plan requires the trustee to disburse. If there is any difference between the amounts set out
below and the actual plan terms, the plan terms control.

a.

b.

Maintenance and cure payments on secured claims (Part 3, Section 3.7 total)

Modified secured claims (Part 3, Section 3.2 total)

Secured claims excluded from 11 U.S.C. § 506 (Part 3, Section 3.3 total)

Judicial liens or security interests partially avoided (Part 3, Section 3.4 total)

Fees and priority claims (Part 4 totai)

Nonpriority unsecured claims (Part 5, Section 5.1, highest stated amount)

Maintenance and cure payments on unsecured claims (Part 5, Section 5.2 total)
Separately classified unsecured claims (Part 5, Section 5.3 total)

Trustee payments on executory contracts and unexpired leases (Part 6, Section 6.7 total)
Nonstandard payments (Part 8, total)

Total of lines a through j

$77,062.93
$0.00
$0.00

131,838.58

